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          IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:05CR342
                              )
          v.                  )
                              )
MARCEL ELMER BLACKBIRD,       )                       ORDER
                              )
               Defendant.     )
______________________________)


           At the request of the defendant,

           IT IS ORDERED that sentencing in this matter is

rescheduled for:
                 Wednesday, July 12, 2006, at 10 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.

           DATED this 6th day of July, 2006.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
